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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.      EDCV 24-745-KK-SHKx                                     Date: June 21, 2024
 Title: Anton Saadeh v. Solibus Payments, Inc., et al.



Present: The Honorable KENLY KIYA KATO, UNITED STATES DISTRICT JUDGE


                 Noe Ponce                                               Not Reported
                Deputy Clerk                                            Court Reporter


     Attorney(s) Present for Plaintiff(s):                   Attorney(s) Present for Defendant(s):
                None Present                                             None Present

Proceedings:      (In Chambers) Order to Show Cause Why Action Should Not Be Dismissed
                  for Failure to Prosecute


         Absent a showing of good cause, an action must be dismissed without prejudice if the
summons and complaint are not served on a defendant within 90 days after the complaint is filed.
See FED. R. CIV. P. 4(m). Generally, a defendant must answer the complaint within 21 days after
service, or 60 days if the defendant is the United States. See FED. R. CIV. P. 12(a). In addition, “any
required response to an amended pleading must be made within the time remaining to respond to
the original pleading or within 14 days after service of the amended pleading, whichever is later.”
FED. R. CIV. P. 15(a)(3). Finally, pursuant to the Court’s Civil Standing Order, “motions for default
judgment shall be filed no later than 14 days after the later of (1) entry of default against the last
remaining defendant, or (2) resolution of all claims against all defendants who have not defaulted.”
Civil Standing Order at 10.

       In the present case, it appears that one or more of these time periods has not been met as to
one or more defendant(s). Specifically:

☐       Proof of service of the summons and complaint

☒       Answer by the defendant or an application for entry of default pursuant to Federal Rule of
        Civil Procedure 55(a)

☐       Motion for default judgment set for hearing in accordance with the Local Rules and the
        Court’s Civil Standing Order
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        Accordingly, the Court, on its own motion, orders plaintiff(s) to show cause in writing on or
before June 28, 2024 why this action should not be dismissed for lack of prosecution as to those
defendant(s).

         It is plaintiff(s)’ responsibility to respond promptly to all Orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time to respond. If necessary,
plaintiff(s) must also pursue Rule 55 remedies promptly upon the default of any defendant. All
stipulations affecting the progress of the case must be approved by this Court. See L.R. 7-1.

        No oral argument of this matter will be heard unless ordered by the Court. The Order will
stand submitted upon the filing of a written response.

        Plaintiff(s) are expressly warned that failure to timely file a response to this Order
will result in this action being dismissed without prejudice as to one or more defendant(s)
for failure to prosecute and comply with court orders. See FED. R. CIV. P. 41(b).

        IT IS SO ORDERED.




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